Fi|| in this informationt 'd t‘f the case-z l .` `
0 l en i y F!£~ F.n
United States Bankmpicy Court for the: 2513 HA l
. . , 7 ~ _
D\stncto W__________, l h &H 9. [,6

CaSe number ufknowm: Chapter

Omcia| Form 201 g 4 | g \Ci

Voluntary Petition for Non-lnclividuals Filing for Bankruptcy ome

lf more space is needed. atlach a separate sheet to this fon'n. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information a separate document, instructions for Bankruptcy Forms for Non-lndividuals, ls available.

 

~ "i. L, "I~cgaqck ifmis is an
'- ~ 1 `¢@M%éfnling

  

 

 

    

 

1. Debtor’s name

 

 

 

2. All other names debtor used
in the last 8 years

 

 

 

include any assumed names.
trade names. and doing business
38 names

 

 

 

 

`/_
3. Debtor’s federal Employer &z_ '
identification Number (EiN) .

@z- 63¢]\52.'5

 

 

 

 

 

4. Debi:or's address Prlnclpal place of huslness |iiiailing address, lf different from principal place
of business
Y° ___
N mber Street Number Street
P.O. on

 

Ci‘ty me Z|P C§e Cily Siafe ZiF' Code

Loeatlon of principal assets, if different from

SNBML S`B‘* l"'l"'i='ll*l| Place of business

Counly

 

Number Streel

 

 

 

 

 

 

 

 

 

Cify Slate ZiP Code
s. Debtor's website (URL)
E_ Type of debtor n Corporalion (inc|uding i.imiled L|abiiity Company (LLC) and Limited Liabiiity Partnership (LLP})
- El Partnership(exciudlng LLP)
`E~cher. Specify: __V_G_ _ JJ
Ofiicial Form 201 Voluntary Felilien for Non-lndividuais Fi|ing for Bankruptcy page 1

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Debt°' Cese number inkmwni

 

 

r. Describe debtor’s business A' mem °"9-'

ill nealin care eusineee {as defined in 11 u.s.c. § 101{27Ai)
ingle Asset Real Estale (as cleaned in 11 U.S.C. § 101{515))

iii named ies delined in 11 u.s.c. § 101(44})

|:l Stockbroker (as delineci in 11 U.S.G. § 101(53A))

[Ii commodity erei<er las derian in 11 u.s.c. § 101(6})

Cl clearing Bank ias defined in 11 u.s.c. § 781(3»

a None of the above
W

B. Check eli that apply: l

[:l Tax-exempt entity (as described in 26 U.S.C. § 501)

l:l investment company, including hedge fund or pooled investment vehicle {as defined in 15 U.S.C.
§ BOa-3)

[:l investment advisor (as deined in 15 U.S.C. § 80b-2(a)(11))

 

C. NA|CS (North American industry Ciassification System) 4-digit code that best describes debtor. See
:)'Nvunu.us u s. ovltour-di it-nati - ' i n-nai -codes.

   

s. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? u Chapfe' 7
n Chapter 9

R(lhapter 11. Check ali that apply

|:l Debtor's aggregate noncontingent liquidated debts i[exciuding debts owed to
insiders or athliates) are less than $2,568.050 (amount subject to adjustment on
4101!19 end every 3 years after that).

n The debtor is a small business debtor as defined in 11 U.S.C. § 101(510}. if the
debtor is a small business debtor. attach the most recent balance sheet. statement
of operationsl cash-flow statementl and federal income tax return or if all ot these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(3).

El A plan is being filed with this petition

n Acceptanoes of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

cl The debtor is required to file periodic reports (for example. 10K and 10Q} with the
Securities and Exchange Commission according to § 13 or 15(d) ofihe Securities
Exchange Act of 1934. File the Attechment to Voluntary Petition for Non-individuais Fi°ling
for Elankruptcy under Chapter 1 1 (foiciai Fonn 201A) with this form.

n The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ru|e
12b-2.

n Chapter 12

s. Were prior bankruptcy cases am
filed by or against the debtor

 

 

 

wlthln the last 8 years? n ‘{es. District Wl'\en Cese number
MM! DDIYY¥‘|"
if more than 2 cases, attach a
separate lisl. ' Distn‘ct When Ceee number 1
‘ MM)' DDIYYYY

 

1n. Are any bankruptcy cases mo
pending or being filed by a
business partner or an C| Yes. new - asiatic-ship
affiliate of the debtor? 1

 

 

Distriol When
List atl cases if more than 1, MM l DD IYYYY
attach a separate list. case number, ir known
Ofiicia| Form 201 Vo|untary Petition for Non-individuais Fiiing for Bankruptcy |33£|e 2

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Debtor ' Caee number romewni
blame

 

11. Why is the case filed in this Ch€¢k ali that appiy.‘

district? '
n Debtor has had its domiciie, principal place of business, or principal assets irl this district tor1BG days

immediately preceding the date ofthis petition or for a longer part of such 180 days than in any other
dismot ' _

El A bankruptcy case conceming debtors afiiiiate. general partner. or partnership is pending in this district

12. Does the debtor own or have wm
possession of any real . . . . . .
property or personal property RYes. Answer below for each properly that needs immediate attention Attach additional sheets rf needed
that needs lmmediat° Why does the property need immediate attention? rcaeck air that apply.]
attention?
i:l lt poses or is aileged to pose a threat of imminent and iderrtinable hazard to public health or safety

What is the hazard?

 

n - it needs to be physicain secured or protected from the wearher.

n lt includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example. livestock, seasonal goods, meat, dairy. produce, or securities-related
assets or other options).

n Other

 

Where is the property?

 

Number Street

 

 

City Stzle ZIP Code

ls the property lnsured?
L_..i No

cl Yes. insurance agency

 

Contect name

 

Phcll't€

 

- Statlstlcal and admlnlstratlve Inl'ormatlon

13. Debtor’s estimation of Check one.'

available funds WQ Funds will be available for distribution to unsecured creditors
cl `Atler any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

 

 

 

 

 

Esh_ ted b 31149 El 1,000-5,000 ill 25,001-`50,000
"' cred'?t:rs '“"" °'°f L`.l so-ea El 5,001-10.000 iii 50,001-100,000
El loo-199 Cl 10,001-25.000 E] More than 100.000
El 200-ess
E t_ md i'_`i $o-sso,ooo El $1,000,001-$10 million Ci 3500.000.001-51 billion
15' s 'ma assets |.`.l $so.oolewopoo Ci $10,000,001-$50 million Ei s1.0oo,ooo.ool-s‘io billion
2§[$100.001~$500.000 l:i $50,000,001-$100 million E| 510,000,000.001-$50 billion
Ell $500,001-$1 million Ei $100.000.001-$500 million L'.i nolo than 350 billion 7
Offic|al Forn'l 201 Vo|untary Pelition for Non-|ndividuals Fiiing for Bal‘lkrl.lptcy Page 3

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Debtor

Case number iriolowm

 

 

Name
iJ sc-sso,ooo
_ 15. E$tlmated liabilities n $50 001_$100 000
Cl sioo.ooiosoo,ooo

|Zl ssoo.iim-$i million

El $i.ooo,ooisio million gibso,ooo,ooisi billion

|I.l $10,000,001-$50 million 1,000.000.001-$10 billion
|Zl sso.ooo,ooi-sloo million Ei sio,ooo,ooo,ooi-$sli billion
El sioo.ooo.ooissoo million Ei noro lnon soo billion

 

 

- Request for Relief, Declaratlori, and Stgnatures

wARNlNG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result |n tines up to
$500.000 or imprisonment for up to 20 years, cr boih. 18 U.S.C. §§152, 1341, 1519. and 35?1.

17- Decla'ati°" and Signat\"'€ of l The debtor requests relief in accordance with the chapter of title 11l Un|ted States Code. speciiieci_in this

authorized representative of t.l.
debtor .. pa ' [°"'

l | have been authorized to tile this petition on behalf of the debtor.

l l have examined the information |n this petition and have a reasonable belief that the information is true-and

GOlTECf.

i declare under penalty of perjury that the foregoing is true and correct.

 

 

ve 9’4/~>°\9

 

 

 

 

 

 

Plil'rted name
ill. Slgnature of attorney x Da{e
Signature of attorney for debtor MM t DD t YYYY
Printed name
Firm name

 

Number Street

 

 

 

 

 

city stole zli= code
Contact phone Ema|| address
Bar number State
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